 8:05-cr-00094-LSC-FG3 Doc # 438 Filed: 03/30/09 Page 1 of 1 - Page ID # 1660




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )           CASE NO. 8:05CR94
                                            )
                      Plaintiff,            )
                                            )                  JUDGMENT
             vs.                            )
                                            )
JUAN GARCIA,                                )
                                            )
                      Defendant.            )

      In accordance with the accompanying memorandum and order,

      IT IS ORDERED:

      1.     The Court has completed the initial review of the Defendant’s Motions Under

28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody (Filing No. 431);

      2.     The Defendant’s Motions Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence by a Person in Federal Custody (Filing No. 431) is summarily denied;

      3.     The Defendant’s request for an evidentiary hearing (Filing No. 431) is denied;

and

      4.     The Clerk is directed to mail a copy of this judgment to the Defendant at his

last known address.

      DATED this 30th day of March, 2009.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
